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           ORDERED in the Southern District of Florida on May 6, 2019.




                                                              A. Jay Cristol, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________




                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION
                                          www.flsb.uscourts.gov
          IN RE:                                         CASE NO.: 18-15399-AJC

          EDUARDO R. PEREZ and                               Chapter 7
          ESPERANZA C. PEREZ

                 Debtors./

                                     AGREED ORDER SUSTAINING
                             TRUSTEE’S OBJECTION TO PROOF OF CLAIM # 11

                THIS MATTER having been considered without hearing upon the Trustee’s Objection to

         Proof of Claim No. 11 (the “Objection”) [ECF No. 84], in which the Trustee objected to Proof of

         Claim Number 11 filed by Ocean Bank. The Court having considered the Objection, noting the

         agreement of the parties and otherwise being duly advised in the premises, finds good cause to

         grant the Objection. Accordingly it is
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ORDERED as follows:

       1.      The Trustee’s Objection to the following claim is sustained:

Claim Holder                                 Claim Number         Disposition
Ocean Bank                                                        Claim Number 11 shall be allowed
                                                     11
                                                                  as a general unsecured claim in the
                                                                  amount of $3,036,041.10. Any
                                                                  secured portion of the claim shall
                                                                  be stricken in full as Ocean Bank
                                                                  received $345,290.01 from the
                                                                  closing of the sale of real property
                                                                  located at 314 Windley Road, Key
                                                                  Largo, Florida 33037.


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Submitted by:
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Copies to:
John H. Lee, Esq.
(Attorney Lee is directed to mail a copy of this Order to all interested parties and to file a
certificate of service).




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